                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:23-CV-731-RJC-DCK

 PAPA G VITALIA,                                  )
                                                  )
                Plaintiff,                        )
                                                  )
    v.                                            )       ORDER
                                                  )
 TRANS UNION, LLC, et al.,                        )
                                                  )
                Defendants.                       )
                                                  )


         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 21) filed by James M. Dedman IV, concerning Stanton V.

Williams, on January 10, 2024. Stanton V. Williams seeks to appear as counsel pro hac vice for

Defendant USAA Federal Savings Bank. Upon review and consideration of the motion, which

was accompanied by submission of the necessary fee and information, the Court will grant the

motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 21) is GRANTED. Stanton V.

Williams is hereby admitted pro hac vice to represent Defendant USAA Federal Savings Bank.

         SO ORDERED.


                               Signed: January 10, 2024




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